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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

EMANI LOVE, et al.,                     NO. 2:15-cv-11834

       Plaintiffs,                      HON. NANCY EDMUNDS

v                                       MAG. ELIZABETH A. STAFFORD

RUTH JOHNSON,                            DEFENDANT RUTH JOHNSON’S
                                           REPLY TO MOTION FOR
      Defendant.                        JUDGMENT ON THE PLEADINGS



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           DEFENDANT RUTH JOHNSON’S REPLY TO MOTION FOR
                   JUDGMENT ON THE PLEADINGS
      The Plaintiffs’ response in this case can best be described as an attempt to

move the goal post and seek relief that is no longer necessary or required to resolve

this case. In the original complaint, Plaintiffs contended that Defendant’s policy

requiring a birth certificate to change the sex designation on Michigan’s driver

licenses or personal identification (PID) cards was “more restrictive” than “what

existed in the past”. (R. 1, Complaint ¶10, Pg ID #6.)

      Now that Defendant Johnson recognizes a valid US passport, a valid US

passport card, and a court order as acceptable forms of documentation to change an

individual’s sex designation on a Michigan driver’s license or PID, they no longer

focus on the burden of obtaining a drivers license or PID because a birth certificate

was required. Instead, they now claim that the “burden” of requiring a physician’s

affidavit is significant because some transgendered persons may not want, need, or

be able to afford a passport. (R. 57, Plaintiffs’ Brief, p. 19.) But this is not a class

action. All six Plaintiffs can obtain such documents under Michigan’s updated

policy, and some of the Plaintiffs already have passports. (R. 1, Complaint, ¶¶ 58

and 66.) Thus, their claims are no longer “live” and are moot. Chirco v. Gateway

Oaks, L.L.C., 384 F.3d 307, 309 (6th Cir. 2004).




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   I.        Defendant’s motion and related filings are not defective; the evidence
             of an updated drivers policy is undisputed.

        A motion for judgment on the pleadings brought pursuant to Fed. R. Civ. P.

12(c) is determined using the same standard that applies to a review of a motion to

dismiss under Fed. R. Civ. P. 12(b)(6). Poplar Creek Development v. Chesapeake

Appalachia, 636 F.3d 235, 240 (6th Cir. 2011). In this case, this Court may

consider the allegations in the complaint as well as matters of public record, orders,

items appearing in the record of the case, and exhibits attached to the complaint.

Amini v. Oberlin College, 259 F.3d 493, 502 (6th Cir. 2001). Because this Court

may consider the allegations in Plaintiffs’ Complaint and other items appearing in

the record, Defendants’ motion for judgment of pleadings is appropriately before

this Court. Furthermore, as described below, there can be no good faith argument

that Defendant Johnson’s policy remains unchanged.

        A.      The record in this case is undisputed; an amended birth
                certificate is not the only means to change one’s sex designation
                on a Michigan driver’s license or PID.

        Plaintiffs contend that this Court should deny Defendant’s motion because

no affidavit or other “piece of evidence accompanies” the motion. After Defendant

filed her motion for judgment on the pleadings, Plaintiffs’ counsel deposed

Michael Wartella, the Director of Customer Service Administration, who approved

the updated policy after it was drafted by staff. Wartella clearly stated that the



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updated policy allows for a passport, passport card, or court order to change the

gender designation on a Michigan driver’s license or PID:

BY MR. KNIGHT:

         Q       You’re still under oath, Mr. Wartella.
                 So we’ve talked about the 2016 policy and that you will accept a
                 passport now –

         A       Yes.
         Q       -- to show a gender change. Right?
         A       Yes.

                                         *******

         A.      And right now our policy that we have is passport, passport card or
                 birth certificate or court order.

(Ex. A, Deposition of Michael Wartella, at pp 99-100).

         Also, the 2016 policy was distributed to the branch offices when it was

issued and, more recently, is included in the Secretary of State’s Driver’s License

Manual. (Ex. B, Affidavit of Grace Ueberroth, Ex. 1 and 2.) Under these

circumstances, Plaintiffs’ counsel is hard-pressed to deny the existence of the

updated 2016 policy.

   II.        No legislative repeal is needed to establish that Plaintiffs’ claims are
              moot.

         Plaintiffs next argue that a change in policy is insufficient as a matter of law

to moot their claims, citing Akers v. McGinnis, 352 F.3d 1030 (6th Cir. 2003). In

Akers, a union and individual employees challenged as unconstitutional a work rule
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that prohibited Department of Corrections employees from any non-work-related

contact with prisoners, parolees, and probations, their relatives and visitors. Both

individual plaintiffs had been terminated for violating the no-contact rule. They

also sought equitable relief, expungement of information from disciplinary records,

and compensatory and punitive damages. During the lawsuit, the Department of

Corrections changed its rules and ultimately allowed for individual exemptions for

certain types of contacts.

        Although the Sixth Circuit concluded that plaintiffs’ claims were not mooted

by a change in the work rules, the facts in Akers are distinguishable. While the

Akers Court noted that there is “no guarantee that MDOC will not change back to

its older, stricter Rule as soon as this action terminates”, plaintiffs’ claims for relief

were still alive and had not been decided--particularly those relating to money

damages. By contrast, the Plaintiffs in this case do not have on-going live claims,

and there is no longer any relief that can be awarded. Each plaintiff is now able to

change the sex designation on their drivers’ licenses or PID by simply obtaining or

renewing their passport or passport card. Thus, Akers is inapposite.

   I.      The history of the policy and timing of the policy change do not weigh
           against a finding of mootness.

        Plaintiffs’ claim that there were political shenanigans at play when, after

Defendant Johnson was elected, her office required an amended birth certificate to


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in order to change the sex designation on a driver’s license or PID. However, this

theory is not supported by the record. Again, Director of Customer Service

Administration Michael Wartella testified that:

                  He was responsible for approving the policy
                   (Ex. 1, Wartella Dep. at p 24);

                  He has never spoken with or has any personal knowledge of the
                   Campaign for Michigan Families (Ex. 1, Wartella Dep. at p 17);

                  That other than the ACLU, no group or organization had ever
                   contacted him about the department’s policy (Ex. 1, Wartella
                   Dep. at p 17);

                  He never talked to Secretary of State Johnson, her chief of staff,
                   or anyone else about her campaign statement on changing the
                   gender on a driver’s license (Ex. 1, Wartella Dep. at p 91);

                  Defendant Johnson did not request this change (Ex. 1, Wartella
                   Dep. at p 91);

                  He told Defendant Johnson that he was going to make a change
                   to the amended birth certificate because they were trying to
                   “also protect the privacy of customers so they wouldn’t have to
                   provide medical information at the counter and we were trying
                   to simplify, for staff, that it was a legal document that could be
                   used for any time we needed to make a correction to the sex
                   designation on a driver’s license.” (Ex. 1, Wartella Dep. at p
                   24);

                  The reason for this change was to “have the same standard that
                   was allowed for Michigan birth certificates under state law that
                   somebody that completed surgery could get their birth
                   certificate changed.” (Ex. 1, Wartella Dep. at pp 24-25).




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      In view of this testimony, Plaintiffs’ theory, that political pressure led the

2011 policy change, lacks factual support. Political pressure had nothing to do

with the change that occurred in 2011. Rather, as Wartella testified, the 2011

change occurred in order to protect the privacy of customers from providing

medical information at Secretary of State branch offices, and to simplify business

procedures within branch offices. As political pressure played no role in the 2011

or 2016 policy, the plaintiffs’ conjecture that political pressure somehow will cause

the 2016 policy to “revert back to old policies” has no foundation. Furthermore,

Wartella testified that the March 10, 2016 policy update has been distributed to

staff electronically, and that it’s going to be included in the Driver’s License

Manual. (Ex. A, Dep of Wartella, at p. 48). This has now occurred. (Ex. B,

Affidavit of Grace Ueberroth, 1 and 2).

      Finally, Plaintiffs argue against a finding of mootness because, in their view,

state officials changed policies and procedures related to the driver’s license issue

too many times. While this view is inaccurate, it is nonetheless irrelevant to the

mootness issue. Defendant Johnson has implemented a policy that is not

burdensome, and integrates a policy cited by Plaintiffs as a model, and provides the

plaintiffs with the relief that they requested in this case. Furthermore, there is no

indication of any intention or desire to return to the prior policy. Under these

circumstances, Plaintiffs’ claims are moot.

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                             RELIEF REQUESTED

      For the reasons set forth in this Reply, Defendant’s Motion for Judgment on

the Pleadings should be granted, and Plaintiffs’ complaint dismissed with

prejudice, together with any other relief the Court determines to be appropriate

under the circumstances.



                                             Respectfully submitted,

                                             Bill Schuette
                                             Attorney General

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                         CERTIFICATE OF SERVICE
      I hereby certify that on April 22, 2016, I electronically filed the above

document(s) with the Clerk of the Court using the ECF System, which will provide

electronic copies to counsel of record.


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